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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

JACQULYN JOHNSON,

      Plaintiff,

v.                                                 Case No.: _______________

5147 DOGWOOD CHARITABLE
GROUP, INC.; W. D. BASS &
COMPANY, P.A.; WILLIAM
PERRY; and RONALD D. STROBO,

     Defendants.
_______________________________/

                            INITIAL COMPLAINT

      COMES NOW the plaintiff, Jacqulyn Johnson, by and through her

undersigned counsel, and hereby files this Initial Complaint against defendants,

5147 Dogwood Charitable Group, Inc.; W. D. Bass & Company, P.A.; William

Perry; and Ronald D. Strobo, and alleges:

                            I. Jurisdiction and Venue

      1.     This Court has jurisdiction of this cause pursuant to 28 U.S.C. § 1331

insofar as claims arise under the Fair Labor Standards Act (FLSA), codified at 29
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U.S.C. § 201, et seq. This Court also has supplemental/pendent jurisdiction over

plaintiff’s minimum wage claims under Florida law.

       2.     Venue is appropriate in this Court pursuant to 28 U.S.C. §1391(b)

and (c) because the claims arose in this district; defendants have an office and

operate in this district; plaintiff was employed, paid, and worked in this district; all

causes of action accrued in this district; and defendants are subject to personal

jurisdiction in this district.

                                      II. Parties

       3.     At all times relevant hereto, plaintiff, Jacqulyn Johnson, was an

employee of defendants performing duties at an establishment known as Goldmine

Bingo located at 5147 Dogwood Drive, Milton, Florida.

       4.     At all times relevant hereto, defendant 5147 Dogwood Charitable

Group, Inc. was an employer of plaintiff which permitted her to provide services

and perform work at its Goldmine Bingo establishment. Additionally, at all times

relevant hereto, defendant 5147 Dogwood Charitable Group, Inc. employed two or

more persons engaged in interstate or foreign commerce and/or engaged in

handling and working on goods and materials that had moved in interstate or

foreign commerce, and upon information and belief has had gross revenues

exceeding $500,000 per year.

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      5.    Defendant 5147 Dogwood Charitable Group, Inc. is subject to, and

not exempt from, the provisions of the FLSA.

      6.    At all times relevant hereto, defendant W.D. Bass & Company, P.A.

exercised operational control over the Goldmine Bingo operations in this district,

acting in the interest of 5147 Dogwood Charitable Group, Inc., and played a

substantial role in determining the terms and conditions of plaintiff’s employment

at Goldmine Bingo.

      7.    Defendant W.D. Bass & Company, P.A. is subject to, and not exempt

from, the provisions of the FLSA.

      8.    At times relevant hereto, defendant William Perry exercised

operational control over the Goldmine Bingo operations, acting in the interest of

5147 Dogwood Charitable Group, Inc., and played a substantial role in

determining the terms and conditions of plaintiff’s employment at Goldmine

Bingo.

      9.    Defendant William Perry is subject to, and not exempt from, the

provisions of the FLSA.

      10.   At times relevant hereto, defendant Ronald D. Strobo exercised

control over Goldmine Bingo’s operations, and played a substantial role in

determining the compensation of plaintiff in her employment at Goldmine Bingo.

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      11.    Defendant Ronald D. Strobo is subject to, and not exempt from, the

provisions of the FLSA.

                             III. Factual Allegations

      12.    Plaintiff began working for defendants on or about October 2, 2018.

She was “an employee” of 5147 Dogwood Charitable Group, Inc.; W. D. Bass &

Company, P.A.; William Perry; and Ronald D. Strobo within the meaning of the

FLSA.

      13.    Defendants owned/operated at least one bingo hall in Northwest

Florida, which operated under the name Goldmine Bingo and was located at 5147

Dogwood Drive, Milton, Florida.

      14.    This Goldmine Bingo was at all times relevant hereto engaged in

commercial activities and competed with other private businesses in the district.

      15.    Defendants failed to pay plaintiff the minimum wages required by

applicable law. In fact, despite permitting plaintiff to work at the Goldmine Bingo

establishment, defendants refused to pay plaintiff anything. Indeed, plaintiff was

specifically advised that the only compensation she would receive for her services

would be in the form of the tips that she received from its patrons.

      16.    During her employment with defendants, plaintiff also worked in

excess of 40 hours per week on occasion. Nevertheless, defendants failed to

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compensate her at the legally required rate for those overtime hours.

      17.   Plaintiff’s employment with defendants ended on or about December

18, 2018.

      18.   Upon information and belief, defendants also failed to keep and

preserve records of those employed by them and the wages, hours, and other

conditions and practices of employment as required by 29 U.S.C. § 211(c).

             IV. Count I -- Violation of Fair Labor Standards Act
                             (Minimum Wages)

      19.   Plaintiff realleges and incorporates herein paragraphs 1 through 18,

above.

      20.   Defendants are subject to, and not exempt from, the provisions of the

FLSA.

      21.   Plaintiff was entitled to, and not exempt from, the protections and

provisions of the FLSA. Additionally, there were no exemptions under the FLSA

which would be applicable to plaintiff.

      22.   Throughout plaintiff’s employment with defendants, defendants were

fully aware of the FLSA and the obligations imposed by it to pay plaintiff the

required minimum wages.

      23.   Nevertheless, defendants failed to compensate her at the legally



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required wage.

      24.    Such conduct of defendants constituted a violation of the FLSA, as

well as a willful and intentional violation thereof.

      25.    As a result of defendants’ violation of the FLSA, plaintiff has been

denied compensation for her labor at the legally required rate.

      26.    Moreover, plaintiff has had to retain an attorney in order to collect the

legally required minimum wages owed to her by defendants.

      WHEREFORE, plaintiff demands judgment against defendants for all

unpaid minimum wages due; an additional equal amount as liquidated damages;

interest, including pre-judgment interest; costs; attorneys’ fees; and any other

relief to which she may be entitled.

              V. Count II -- Violation of Fair Labor Standards Act
                          (Overtime Compensation)

      27.    Plaintiff realleges and incorporates herein paragraphs 1 through 18,

above.

      28.    Defendants are subject to, and not exempt from, the provisions of the

FLSA.

      29.    Plaintiff was entitled to, and not exempt from, the protections and

provisions of the FLSA. Additionally, there were no exemptions under the FLSA



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which would be applicable to plaintiff.

      30.    Throughout plaintiff’s employment with defendants, defendants were

fully aware of the FLSA and the obligations imposed by it to pay overtime

compensation.

      31.    Nevertheless, defendants willfully and intentionally failed and

refused to properly compensate plaintiff and pay her overtime wages. Such

conduct of defendants constituted a violation of the FLSA, as well as a willful and

intentional violation thereof.

      32.    As a result of defendants’ violation of the FLSA, plaintiff has been

denied compensation for her labor at the legally required rate.

      33.    Moreover, plaintiff has had to retain an attorney in order to collect the

overtime wages owed to her by defendants.

      WHEREFORE, plaintiff demands judgment against defendants for all

unpaid overtime compensation; an additional equal amount as liquidated damages;

interest, including pre-judgment interest; costs; attorneys’ fees; and any other

relief to which she may be entitled.

              VI. Count III -- Florida Minimum Wage Act Claim

      34.    Plaintiff realleges and incorporates herein paragraphs 1 through 18,

above.

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      35.    Defendants are subject to, and not exempt from, the provisions of the

Florida Minimum Wage Act (FMWA), which is mandated by Section 24, Article

X of the Florida Constitution and implemented by Section 448.110, Florida

Statutes.

      36.    Plaintiff was entitled to, and not exempt from, the protections and

provisions of the FMWA. Additionally, there were no exemptions under the

FMWA which would be applicable to plaintiff.

      37.    Throughout plaintiff’s employment with defendants, the FMWA

required that plaintiff be compensated at the rate of at least $8.25 per hour.

Defendants were also fully aware of the FMWA and the obligations imposed by it.

      38.    Nevertheless, defendants willfully and intentionally failed and

refused to properly compensate plaintiff. Such conduct of defendants constituted

a violation of the FMWA, as well as a willful and intentional violation thereof.

      39.    As a result of defendants’ violation of the FMWA, plaintiff has been

denied compensation for her labor at the legally required rate.

      40.    Plaintiff has complied with the pre-suit requirements delineated in

Section 448.110(6), Florida Statutes, as she provided defendants 15 calendar days

written notice of her intent to initiate an action for violations of the FMWA,

during which time the claim was not resolved.


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      41.    Moreover, plaintiff has had to retain an attorney in order to collect the

wages owed to her by defendants under the FMWA.

      WHEREFORE, plaintiff demands judgment against defendants for all

unpaid minimum wages; an additional equal amount as liquidated damages;

interest, including pre-judgment interest; costs; attorneys’ fees; and any other

relief to which she may be entitled.

      Plaintiff demands jury trial on all issues contained in this Initial

Complaint which are so triable.

                                              Respectfully submitted,

                                              s/Bradley S. Odom
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